                 IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF TENNESSEE
                          NASHVILLE DIVISION



CONCORD MUSIC GROUP, INC. ET AL.,

              Plaintiffs,
                                               Case No. 3:23-cv-00606
                     v.                        District Judge Aleta A. Trauger

X CORP., D/B/A TWITTER,

              Defendant.




                           JOINT DISCOVERY STATEMENT




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   I.      PLAINTIFFS’ STATEMENT

           A. Introduction

        This case is about Defendant fueling its business with countless infringing copies of

musical compositions, in violation of Plaintiffs’ exclusive rights under copyright law. Plaintiffs

are major and independent music publishing companies. Defendant owns and operates the social

media platform “X” (formerly “Twitter”). To compete with other social media and video sharing

sites, Defendant actively hosts, promotes, and streams audiovisual content on X, which is rife with

infringing copies of Plaintiffs’ musical compositions. Rather than meet its legal obligations,

Defendant permits, encourages, and assists these infringements on X, while failing to obtain the

necessary licenses that its competitors procure.

        In its March 5, 2024 order, the Court dismissed Plaintiffs’ claims for direct and vicarious

infringement but preserved Plaintiffs’ contributory infringement claim in connection with (i)

Defendant’s preferential treatment to paying users; (ii) Defendant’s failure to act on takedown

notices in a timely manner; and (iii) Defendant’s failure to take reasonable steps in response to

serial infringers. ECF 90, at 21 (the “Order”). In dismissing the direct and vicarious infringement

claims, the Court made clear that “[t]he ultimate questions presented by this case are whether and

to what extent X Corp. may be liable for the infringing acts of users on its platform. X Corp.’s

powers of monitoring and control over users and their tweets are relevant to that inquiry, as are

X Corp.’s economic incentives to tolerate infringement.” Id. (emphasis added).

        Obtaining discovery from Defendant has been an arduous process. Plaintiffs served their

written discovery on May 15, 2024. For several months, Defendant flatly objected to providing

any answers or documents in response to most of Plaintiffs’ interrogatories and requests for

production. After much work, Defendant backed off some of those positions and compromises

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were reached. So far, however, Defendant has produced only 139 documents, while Plaintiffs have

produced 17,948 documents. Those production numbers are obviously off-kilter, and even more

so considering that the bulk of the relevant discovery in infringement actions usually comes from

the accused infringer.

         At Plaintiffs’ request, the Court held a telephone conference on November 14, 2024. The

Court directed the parties to confer again, with local counsel participating, and it set a further

conference for December 4th. ECF 106. Defendant indicated it was unavailable to confer before

November 22nd. As a result, the parties first conferred again on November 22nd, and then again on

November 26th. Local counsel for both sides participated. Only some progress was made.

         The parties remain at an impasse as to three categories, covering 17 individual requests.

They are as follows: (1) requests regarding Defendant’s algorithms and other tools to monitor and

control content on its platform (“Monitoring & Control Requests”); (2) requests regarding

Defendant’s economic incentives to tolerate infringement (“Economic Incentives Requests”); and

(3) requests regarding Defendant’s efforts to garner platform users (“Competitive Analyses

Requests”). The discovery sought in each of the categories is relevant and Defendant’s

unreasonable objections and/or proposed limitations should be overruled. 1

         To be clear, this discovery dispute currently is only about relevance, not burden. Defendant

consistently cites burden, while not identifying details, not looking into what would be involved

to collect documents, and not proposing reasonable alternatives. It is not enough to baldly suggest

that requests would lead to “significant” or “vast” discovery—more information must be provided.

And, where discovery would be “vast,” the appropriate solution is to tailor the collection, not cast



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 Exhibit A identifies each Interrogatory (“Rog”) and Request for Production (“RFP”) at issue,
organized according to the three categories described above, Defendant’s objections, and the
current status of the parties’ positions.     2


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aside the subject matter of the search. At every stage of the parties’ conferrals, Plaintiffs have

explained that they are willing to work with Defendant with respect to managing how it approaches

collection and production. For instance, for certain requests, it may be that presentations and

planning documents are sufficient, without delving into every related document or even email.

However, instead of negotiating with Plaintiffs, Defendant refuses to produce any documents or

information on relevance grounds (except to propose responses so narrowly tailored that they will

not result in any production).

       Applying a cramped reading of the Order, while also holding Plaintiffs to a “smoking gun”

standard, Defendant insists discovery is only relevant if the requested documents will alone

establish an element of a claim or liability in this case. But that is an unreasonably narrow view of

relevance. Compare Equal Emp. Opportunity Comm'n v. FedEx Ground Package Sys., Inc., 2018

WL 1441426, at *3 (W.D. Pa. Mar. 21, 2018) (rejecting attempt to “frame relevancy as a binary

test where information is either irrelevant or a ‘smoking gun.’”). Such a standard is inconsistent

with Federal Rule 26(b). See Eight Mile Style, LLC v. Spotify USA Inc., 2022 WL 20936608, at *4

(M.D. Tenn. Mar. 31, 2022) (there is a “broad definition of relevance for the purposes of

discovery”); Fed. R. Civ. Pro. 26(b) advisory committee’s note (“a flexible treatment of relevance

is required” for discovery purposes). The Order addressed theories of potential liability, not the

issues in the case concerning willfulness, damages, or affirmative defenses. As to the contributory

claim in suit, the Court clarified that that X Corp.’s powers of monitoring and control over users

and their tweets are relevant, as are X Corp.’s economic incentives to tolerate infringement. The

Order did not preclude the relevant discovery addressed below.




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           B. Plaintiffs’ Monitoring & Control Requests Are Relevant

       The following requests fall under the umbrella of Defendant’s “powers of monitoring and

control over users and their tweets” (Order at 21) that this Court already deemed relevant:

           •   documents sufficient to describe Defendant’s algorithms that set how and where
               posts appear on X and who sees them (RFP No. 47), and identification of the
               individuals who design and develop such algorithms (Rog No. 24);

           •   documents sufficient to show Defendant’s “tools, programs, or methods [] use[d]
               to monitor and/or control Platform Users or content uploaded or posted by Platform
               Users” (RFP No. 56), and identification of individuals with responsibility of such
               tools, programs or methods (Rog No. 23);

           •   documents sufficient to show how and where advertisements are placed on X (RFP
               No. 48); and

           •   identification of individuals with responsibility over the system used to stream
               posts (Rog No. 22).

               Exhibit A at 1-5.

Defendant contends that “X Corp.’s powers of monitoring and control over users and their tweets”

are only relevant if those powers, standing alone, can constitute contributory liability. Defendant

would thus withhold documents showing that X’s algorithms promote a category of content that

is rife with infringing material. See infra Def’s Statement at 6-7.

       But Defendant is not entitled to prevent the Court and jury from understanding how it

promotes posts, has insights into those posts, places advertisements along posts, hosts and streams

the posts, and/or fails to stop or limit that activity for infringers and infringing content identified

in infringement notices. This all goes to how Defendant materially contributes to the infringing

activity—an element of contributory infringement. See, e.g., UMG Recordings, Inc. v. Grande

Commc'ns Networks, L.L.C., 118 F.4th 697, 716 (5th Cir. 2024) (affirming jury instructions that

defendant could be liable if it “intentionally continue[d] to provide access to infringing” content

where it could “ta[ke] basic measures to prevent further damages to copyrighted works” which
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included termination of certain services as used in context outside of copyright infringement);

Perfect 10, Inc. v. Giganews, Inc., 847 F.3d 657, 671 (9th Cir. 2017) (in “online context,”

defendant “is liable under a material contribution theory of infringement ‘if it

has actual knowledge that specific infringing material is available using its system, and can take

simple measures to prevent further damage to copyrighted works, yet continues to provide access

to infringing works.’” (citation omitted)). This evidence is relevant to liability, willfulness, and

statutory damages, including as Defendant continues to engage in that activity for infringing users

and content identified in infringement notices.

       Defendant’s position would hamper the Court, and eventually the jury, from understanding

core information commonly relied on in infringement cases like this one. See, e.g., Capitol Recs.,

LLC v. Escape Media Grp., Inc., 2014 WL 12698683, at *13-14 (S.D.N.Y. May 28, 2014)

(describing “Operation and Functionality of Grooveshark.com” and “Storage and Organization of

Grooveshark.com Audio Content”); Arista Recs. LLC v. Usenet.com, Inc., 633 F. Supp. 2d 124,

129-131 (S.D.N.Y. 2009) (describing “The USENET and How It Works” and “Defendants and

Their Business”); EMI Christian Music Grp., Inc. v. MP3tunes, LLC, 844 F.3d 79, 86 (2d Cir.

2016) (providing background on “MP3tunes.com and Sideload.com”).

       Defendant tries to create the veneer of compromise by agreeing to (i) produce “documents

sufficient to describe aspects of any algorithm (or technical process for advertising) that promotes

infringing content over non-infringing content” in response to RFP Nos. 47 and 48 and identify

individuals with knowledge of algorithms or systems “that promote posts containing infringing

music or infringing audiovisual content over non-infringing content” in response to Rog Nos. 22

and 24; and (ii) “produce documents sufficient to reflect its use of technologies, tools, or devices

to detect or limit copyrighted music in posts or live streams by Platform users” in response to RFP

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No. 56 (emphasis added) and identify individuals “with knowledge of programs or tools to monitor

the site for copyrighted music on the platform” in response to Rog No. 23. Exhibit A at 1-5. That

does not work.

       First, many infringers do not spell out their infringement. Indeed, Defendant’s stated

position is that, without a takedown notice, it is not aware whether content is infringing versus

non-infringing. Thus, although Plaintiffs are certainly interested in documents that show

Defendant has algorithms that specifically promote infringing content over non-infringing content,

that should be a floor rather than the ceiling. As they build their case on liability, willfulness, and

damages, Plaintiffs are entitled to utilize evidence showing that Defendant’s algorithms promote

a category of content on its platform that is rife with infringing material, including as the

algorithms interact with specific infringers and infringements brought to Defendant’s attention.

That does not equate to a “theory of general liability” for infringement across the platform, see

infra Def. Statement at 7, nor would it be impermissible on other fronts..

       Defendant’s proposal is also unworkable. It puts Plaintiffs in the untenable position of

relying on Defendant to determine what constitutes promotion of infringing content, which the

parties likely dispute. In fact, Defendant has repeatedly been unable to explain how it would search

for documents that depict promotion of only infringing music. Even now, Defendant acknowledges

that it has no test for finding documents responsive to its proposal—it simply states that “[i]f X

has an internal understanding that it uses to determine whether certain content is infringing”, then

the documents “will reflect that fact”. See infra Def. Statement at 8. Plaintiffs should not be

beholden to Defendant’s “internal understanding” of infringement. Plaintiffs have a right to

discovery on what X does, not restricted to what X regards as infringement. Contrary to

Defendant’s contention, its proposal is full of discretionary decisions, see id., starting with X’s

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discretion on what constitutes infringement. For instance, Defendant has contended that it would

be irrelevant—and thus Defendant would not produce—any evidence that its algorithm promotes

use of popular commercial music on X despite the reality that most of such music is posted on X

without authorization.

       Second, by agreeing to only produce documents on its current use of tools to monitor

copyright infringement (if any) and information on persons with knowledge specific to copyright

infringement, in response to RFP No. 56 and Rog No. 1, Defendant seeks to preclude discovery

on its powers and capabilities to reduce infringement that it has chosen not to use. This limitation

runs contrary to the Court’s guidance that Defendant’s “powers of monitoring and control” are

relevant, the material contribution element of copyright infringement, and willfulness and

damages. See supra. Defendant’s argument that there is no requirement that it do everything

possible to limit infringement is misplaced. See infra Def. Statement at 9. The discovery about

Defendant’s monitoring capabilities is relevant to whether Defendant took reasonable steps with

respect to specific known infringers and specific known infringements.

       Thus, Defendant’s proposed “compromise” is not a compromise at all. It is an attempt to

avoid producing anything other than the most egregious, smoking-gun documents. Nor has

Defendant offered any details on the potential burden of responding to Plaintiffs’ requests—only

that because Plaintiffs’ requests are not relevant, it is too burdensome to conduct related searches.

That is the case even for Plaintiffs’ interrogatories where Plaintiffs have indicated that they are

willing to receive responses in the form of some corporate representatives with pertinent

knowledge, and where Defendant has already agreed to produce organizational charts (to the extent

they exist) covering the exact same topics. This position simply makes no sense. Defendant will

commit to search for an organizational chart or other document sufficient to identify personnel

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with material responsibility for a topic but refuses to answer an interrogatory for the same

information. And in the case of document requests, Defendant fails to explain how conducting an

analysis on X’s internal understanding of infringement (however it may be defined) is less

burdensome than producing select documents responsive to Plaintiffs’ requests.

            C. Plaintiffs’ Economic Incentive Requests Are Relevant

       The following requests regarding use of music on X fall under the umbrella of Defendant’s

“economic incentives to tolerate infringement” (Order at 21) that this Court already deemed

relevant:

            •   reports, studies and analyses concerning use of music on X (RFP No. 1);

            •   plans or strategies for promoting and generating revenue from use of music on X
                (RFP No. 2);

            •   strategies and analyses regarding whether or how to license music on the platform
                (RFP No. 5), and identification of individuals with information on such strategies
                (Rog No. 2);

            •   analyses of user demographics and the impact that use of music or audiovisual
                content on X has on attracting or retaining users (RFP No. 52);

            •   comparative analyses of user engagement of posts featuring audiovisual content
                versus posts without such content (RFP No. 53);

            •   Defendant’s encouraging users to upload media content to X rather than link to
                third-party sites (RFP No. 54);

            •   Defendant’s decision to increase video length limits for posts on X (RFP No. 55);
                and

            •   identification of individuals with responsibility for Defendant’s efforts relating to
                use of music on X (Rog No. 1).

            Exhibit A at 6-12.

       Defendant refuses to produce this discovery on the theory that showing a mere functionality

of music does not equate to liability. But Defendant’s position is a strawman. The relevance of

these requests is not merely that providing a particular
                                                 8       functionality constitutes liability. Rather,



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these requests relate to “economic incentives to tolerate infringement” that the Court deemed

relevant. Defendant promotes use of music on X, knowing full well that much, perhaps most, of it

is infringing because Defendant does not obtain the licenses that its competitors procure.

Defendant has tolerated and embraced such infringement because Defendant understands that use

of music, including infringing music, drives user demand on its platform (i.e., is of exceptional

value to Defendant). Nonetheless, if one set of documents shows that X knows music on X is

overwhelmingly infringing and a separate set of documents shows that Defendant promotes such

music on X because it drives engagement and revenue, Defendant would not produce the second

set because it alone would not establish X’s contributory liability. But the combination of the two

speak to economic incentives to tolerate infringement in the context of X’s knowledge of

infringing uses of music on its platform, including as to the three categories the Court recognized

for Plaintiffs’ contributory infringement claim.

       Defendant’s general knowledge that music fuels its business, Defendant’s efforts to

encourage music uploading (knowing much of it is infringing), and Defendant’s considering

whether to obtain proper licenses for use of that music are also relevant to both willfulness and

damages. It can be considered in connection with whether Defendant acted in reckless disregard

to Plaintiffs’ copyrights and the need for deterrence. The same is true for Defendant’s

understanding of the impact of making use of music available on drawing users to X, and the

motivation behind changes to the platform that will in turn attract such users (e.g., increase in video

length limits to “about three hours long”, ECF No. 95, ¶ 125).

       True to form, Defendant again offers exceptionally narrow avenues for discovery.

Defendant said it will produce documents concerning “the use of infringing music” and X’s

promotion and support of such infringing music in response to RFP Nos. 1-2, documents showing

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the impact of use of infringing music or content on attracting users in response to RFP No. 52,

documents concerning analyses of user engagement of “posts featuring infringing audiovisual

content versus” posts without such content in response to RFP No. 53, and documents concerning

X’s encouragement of users to upload infringing content in response to RFP No. 54. Exhibit A at

6-12. Defendant has also agreed to identify individuals with involvement related to “infringing use

of music on the platform” in response to Rog No. 1. Id. at 11. As above, Defendant’s position,

consistently limited to “infringing” music, is too narrow, because many infringers do not expressly

spell out how they encourage infringement, and circumstantial evidence is discoverable. And

again, even if such direct evidence exists, Plaintiffs should not be forced to rely on Defendant to

define the contours of what constitutes infringement, encouraging infringement, or the impact

thereof.

       In effect, Defendant’s position is that Defendant, not the Court or jury, gets to determine

what inferences may be drawn from circumstantial evidence concerning Defendant’s economic

incentives. At best, Defendant has conveniently decided its promotion of use of music generally

(and related requests) does not influence its actions to permit continued infringement on its

platform. At worst, Defendant knows that discovery into these areas will show the opposite. In any

event, Defendant’s position is improper.

       Defendant again fails to support its contention that Plaintiffs’ requests will result in an

overly burdensome production. Defendant states that the platform generally contains millions of

“posts about music and music related topics” but ignores Plaintiffs’ clarification that its requests

on “use of music” are targeted to uploading, posting, or streaming of music (e.g., posts that include

audio or audio-visual content featuring music), which Defendant concedes makes up a “small

portion” of the posts about music. See infra Def. Statement at 12. Moreover, the volume of posts

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of course does not speak to how many documents Defendant might have to produce, which would

be far lower. And, in all events, Plaintiffs’ requests here are generally seeking analyses, planning,

or strategy documents, not all documents related to music as Defendant contends. Defendant ought

not receive credit for imagining burden without assessing it and reducing it through negotiation.

           D. Plaintiffs’ Competitive Analyses Requests Are Relevant

       Finally, the last category of at-issue requests includes documents concerning (i) changes

made to X to compete with other social media sites; and (ii) competitive analyses, including on

entities Defendant views as its competitors. Exhibit A at 13-15. These topics are relevant for the

multiple reasons discussed below, but Defendant has stonewalled (except for a late offer to produce

documents consistent with its theme—documents that reflect optimizing infringing content).

       First, Defendant updated X to keep up with its competitors and worked to attract its

competitors’ users to its platform despite knowing that without proper licensing, such steps would

increase infringement. For instance, Defendant seeks out users from competing sites who post

(licensed) music on those sites, knowing they will make similar posts on X without license,

resulting in infringement. That bears directly on Defendant’s economic incentives to tolerate

infringement that this Court has deemed relevant to liability and that also goes to issues of

willfulness and damages. See supra at Section I.C.

       Second, there is an “existing market for social media companies to pay fees for the use of

musical compositions” including with well-known platforms such as TikTok, Facebook,

Instagram, YouTube, and Snapchat. ECF No.1, ¶ 7. Those platforms pay licensing fees for

Plaintiffs’ music and Defendant does not. Defendant’s unpaid self-help to the same content and

same uses as its competitors is a direct threat to the existing licensing market. Id. That Defendant

attempts to compete with these platforms while taking a free license for itself is squarely relevant

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to the market at issue, the harm Defendant creates (which is in dispute. ECF No. 95, ¶ 7 (denying

that Defendant’s conduct harms these markets)), and resulting damages.

       Once again, Defendant now offers exceptionally narrow areas of discovery in response to

these requests. It will produce documents that show changes made to X to “more effectively

compete” with other platforms with respect to optimizing “infringing music or infringing

audiovisual content” in response to RFP No. 50, and similarly will produce competitive analyses

“that relate to the use of infringing copyrighted content” in response to RFP No. 51. For the same

reasons described above in Sections I.B and I.C, these positions are designed to ensure that

Defendant is unlikely to produce anything in response to these requests, and to force Plaintiffs to

rely on Defendant to determine what constitutes infringement. That is improper.




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II.    DEFENDANT’S STATEMENT OF THE DISPUTE

           A. Introduction

       This case concerns whether Defendant X Corp. (“X”) can be held liable when users upload

infringing copyrighted content onto X’s platform in violation of X’s Terms of Service. In its

March 5, 2024 Opinion on X’s Motion to Dismiss (Dkt, 90, “MTD Decision”), the Court pared

down Plaintiffs’ expansive secondary liability claims by dismissing Plaintiffs’ direct infringement

and vicarious liability claims, and holding that Plaintiffs could proceed against X on a theory of

contributory liability based only on three alleged practices by X: “(1) providing more lenient

copyright infringement enforcement to ‘verified’ users; (2) failing to act on takedown notices in a

timely manner; and (3) failing to take reasonable steps in response to severe serial infringers.”

MTD Decision at 21. The Court also held that evidence pertaining to “X Corp.’s powers of

monitoring and control over users and their tweets” and “X Corp.’s economic incentives to tolerate

infringement” are relevant to whether X “may be liable for the infringing acts of users on its

platform” arising out of the three alleged practices identified by the Court. Id.

       Although Plaintiffs’ brief casts aspersions, X’s approach to discovery has been guided by

the Court’s analysis in the MTD Decision. It is true that the parties have spent months negotiating

the parameters of discovery, but that is largely because Plaintiffs’ initial discovery requests were

sweeping in breadth and were not tailored to the needs of the case as narrowed by the Court.

Nevertheless, after many hours of discussion, the parties have agreed on the production of

documents and information going to the core claims and defenses in the case. X has agreed to




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produce a broad range documents and information in response to 46 of 65 requests for production

and 19 of 24 propounded Interrogatories. 2 This information includes:


           •   Documents concerning X’s DMCA and Copyright policies and practices (RFP Nos. 7-8, 10-11, 25);

           •   Documents reflecting the application of its Copyright Policies to Verified Users, as
               well as documents sufficient to identify requirements for becoming a Verified User
               since December 2021 and documents sufficient to show the changes made to those
               requirements (RFP Nos. 12-14);

           •   Documents reflecting (a) every DMCA notice received by X from all rightsholders
               from June 2021 (six months prior to the date of Plaintiffs’ first notice); (b) all
               actions taken by X in response to DMCA notice received by X from all
               rightsholders from June 2021; and (c) documents showing all actions taken in
               response to DMCA notices (such as account suspensions and reactivations,
               communications to users and right holders, and disabled content) (RFP Nos. 19-20,
               22-23, 27-31, 37, 38, 41-43; see also ROG Nos. 13-19).

A complete list of discovery requests to which X has agreed to respond to is reflected in Exhibit

B. A brief review of this list should alleviate any potential concern that X is unreasonably resisting

discovery in this case.

       By contrast, the requests currently in dispute are on the fringe of relevance, and they are

overbroad in that they implicate entire categories of documents that do not pertain to the as-

narrowed claim or relevant defenses. For each of these requests, wherever possible, X has offered

a compromise that would narrow the documents sought to those that are arguably relevant, and

that would spare X from having to collect and review enormous volumes of documents that pertain

to infringement-neutral policies or practices relating to algorithms, audiovisual files, and/or music




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    The twenty-four Interrogatories served by Plaintiffs contain multiple subparts, which, when
properly counted, actually constitute forty-three interrogatories—three more than what is
permitted in the Case Management Order. Dkt. 101 at 3 (“Local Rule 33.01(b) is expanded to
allow 40 interrogatories, including subparts”). Without waiving its objection that Plaintiffs have
exceeded the maximum number of Interrogatories allowed by the Local Rules, X will refer to the
Interrogatories by Plaintiffs’ numbering convention.
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that qualify as general features of the platform upon which this Court has already ruled liability

cannot be premised. See MTD Decision at 15-16.

       Plaintiffs argue that X’s proposals to narrow the scope of the requests are “designed to

avoid any meaningful production.” That characterization is unfair and untrue. The Court has said:

“It does not appear to be disputed, in this litigation, that X/Twitter users sometimes engage in

copyright infringement. What is disputed is the extent to which X Corp. has actively encouraged

that conduct, if at all.” Id. at 2 (emphasis added). The Court has also said: “The court, accordingly,

will dismiss Count II, insofar as it seeks to assert a theory of comprehensive general liability for

infringement across the X/Twitter platform, but the court will permit the plaintiffs to proceed

with regard to the three potentially unlawful practices that the court has discussed and any

instances of infringement attributable to those practices.” Id. at 17 (emphasis added). X has

attempted in good faith to convert Plaintiffs’ requests which are directed toward a theory of

“general liability for infringement across the X/Twitter platform” into requests targeting evidence

that X “actively encouraged” or “tolerates” infringement. If X possesses documents that show it

intentionally promoted or tolerated infringement, or had an economic incentive to do so, they will

be responsive to X’s proposed modified requests and produced in this case.

       Plaintiffs are also not correct that “this discovery dispute currently is only about relevance,

not burden or proportionality.” The scope of discovery is properly limited to matters that are

relevant “and proportional to the needs of the case.” Fed. R. Civ. P. 26(b)(1). The additional

burden to X of having to collect, review, and produce vast quantities of irrelevant documents in

response to the disputed requests is an important consideration, especially in light of the extensive

discovery on the core issues X has already agreed to undertake. See generally Exhibit B.



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       Although not relevant to the instant dispute, Plaintiffs accuse X of being dilatory in its

discovery obligations because it has only produced 139 non-custodial documents to date.

However, as Plaintiffs are aware, X has been preparing a massive database containing millions of

datapoints that reflect all DMCA notices received by X from rightsholders, and includes

information on actions and communication taken in responses to those notices, among other

information sought by Plaintiffs (e.g., Exhibit B, RFP Nos. 19-20, 22-23, 27-31, 37-38, 41, 43;

ROG Nos. 13-19 ). Compiling this data has taken tremendous time and resources. And although

this dataset will only count as one document in Plaintiffs’ tally, it is responsive to many discovery

requests and represents months of work by X and its counsel.

           B. X’s Narrowed Requests On The General Technical Operations Of The
              Platform Are Appropriate

       This group of requests, which Plaintiffs call “monitoring and control” requests, fall into

two distinct categories: (1) requests related to the technical functioning of X’s algorithms and (2)

requests related to X’s ability to monitor content posted by users to the Platform. Each is

discussed in turn below.


               1. Requests About Algorithms That Govern User Feeds

 Plaintiffs’ Request                                  X’s Proposed Compromise

 RFP NO. 47: Documents sufficient to                  X is willing to produce documents sufficient
 describe the Platform’s algorithms that govern       to describe aspects of any algorithm (or
 what posts appear where, who sees which              technical process for advertising) that
 posts, how posts are selected for any given          promotes infringing content over non-
 Platform User’s “For you” timeline, how              infringing content.
 posts are selected for inclusion under
 “Topics” for any given Platform User, how
 the “Trending” or “What’s happening”
 section of Platform is populated, how the
 “Who to follow” section of the Platform is
 populated, and placement of “Promoted Ads,”
 “Follower Ads,” “Promoted-only Posts” or
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 any other advertised or promoted content on
 the Platform.

 RFP NO. 48: Documents sufficient to show           X is willing to produce documents sufficient
 or describe the technical process by which         to describe aspects of any algorithm (or
 advertisements or promoted content are             technical process for advertising) that
 placed on the Platform, including factors          promotes or monetizes infringing content
 considered in where the advertisement will be      over non-infringing content.
 placed (such as targeted geographic location
 or demographic) and the steps taken to
 actually place the advertisement.

 ROG NO. 22: Identify the persons, including        X will identify persons with knowledge of
 current and former employees, with                 systems that promote posts containing
 responsibility for or involvement in               infringing music or infringing audiovisual
 designing, developing, implementing,               content over non-infringing content.
 operating, or maintaining the system used to
 stream posts or uploaded files featuring music
 or audio-visual content on the Platform.

 ROG NO. 24: Identify the persons, including        X will identify persons with knowledge of
 current and former employees, with                 algorithms that promote posts containing
 responsibility for or involvement in Your          infringing music or infringing audiovisual
 algorithms, including the design,                  content over non-infringing content.
 development, operation, and maintenance of
 your algorithms that govern how posts are
 selected for any given Platform User’s “For
 you” timeline, how posts are selected for
 inclusion under “Topics” for any given
 Platform User, how the “Trending” or
 “What’s happening” section of Platform is
 populated, how the “Who to follow” section
 of the Platform is populated, and how and
 where advertisements or other promoted
 content are populated on the Platform.



       Plaintiffs greatly over-read the Court’s instruction that “X Corp.’s powers of monitoring

and control over users and their tweets” are relevant to whether X “may be liable for the infringing

acts of users on its platform” arising out of the three alleged practices by X identified by the Court.

MTD Decision at 21. A host of features of the X platform that can be broadly described as relating

to “monitoring or control” have nothing to do with the remaining issues in this case. To take just
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one example, RFP No. 47 demands documents concerning “what posts appear where, who sees

which posts, how posts are selected for any given Platform User’s ‘For you’ timeline, how posts

are selected for inclusion under ‘Topics’ for any given Platform User, how the ‘Trending’ or

‘What’s happening’ section of Platform is populated, how the ‘Who to follow’ section of the

Platform is populated, and placement of ‘Promoted Ads,’ ‘Follower Ads,’ ‘Promoted-only Posts’

or any other advertised or promoted content on the Platform.” Information such as this, about how

X’s algorithms operate generally to organize content in user’s feeds, will not shed light on alleged

infringement and is not a proper subject of discovery in the wake of the Court’s MTD decision.

Beyond that, as Defendant has explained to Plaintiffs, this information about X’s proprietary

algorithms is highly sensitive competitive information that lies at the heart of X’s business

operations.

       In an effort to tailor these requests to the needs of the case, X has limited their scope to

infringing content. This approach makes sense. For example, how X matches advertisements to

posts (RFP No. 48) would demonstrate an intent to profit from known infringement only if X

treated infringing content differently than non-infringing content and matched it to ads. MTD

Decision at 15 (“[W]hile the plaintiffs make much of X/Twitter’s monetization of infringing tweets

by surrounding them with paid-for promoted material, there is no allegation that those practices

were meaningfully different than those X/Twitter applied to monetize popular, but entirely non-

infringing, tweets.”). The cases cited by Plaintiff concerning material contribution support this

view—as they all recognize that material contribution requires knowledge of specific infringing

content.

       Plaintiffs argue that X’s proposal “does not work” because it is unlikely that X’s algorithms

are specifically designed to promote infringing content. Instead, Plaintiffs say, they are entitled to

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“build their case” with “evidence that Defendant’s algorithms promote a category of content that

is rife with infringing material.” In other words, Plaintiffs want to build a case against X on a

theory of general liability—namely, because X allows users to post audiovisual content, some of

which contains unlicensed music, X is contributorily liable if its algorithms, policies or practices

promote music or audio visual content as a general category. The Court has rejected this theory

of general liability. MTD Decision at 15. (“Insofar as the plaintiffs are seeking to pursue a broad

theory that X Corp. is liable for all of the infringement done on its platform because it has, in

effect, created a straightforward, intentional infringement facilitation device, like the peer-to-peer

filesharing applications that led to Grokster and similar litigation, the plaintiffs have failed to

allege that theory in a manner consistent with either Grokster or the general law of secondary

liability.”); id. 17 (“The court, accordingly, will dismiss Count II, insofar as it seeks to assert a

theory of comprehensive general liability for infringement across the X/Twitter platform, but the

court will permit the plaintiffs to proceed with regard to the three potentially unlawful practices

that the court has discussed and any instances of infringement attributable to those practices.”); id.

15-16 (“Any feature that makes a service easier for all of its users will, by definition, also make

the service easier for bad actors. The plaintiffs have not identified any basis for concluding that X

Corp. was obligated to make its service worse for everyone, just to punish the people who misuse

it.”); id. 15 (“The plaintiffs, however, have not identified any caselaw or statutory law suggesting

that merely hosting infringing content, until it is subject to a takedown notice, constitutes

‘materially contributing’ to infringement under current law.”).

       As for Plaintiffs’ argument that this evidence is relevant to damages, if liability cannot be

premised on a theory of general liability for infringement-neutral features, surely the same

evidence cannot be the basis for a finding of “willful infringement” for the purposes of awarding

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statutory damages. See Joe Hand Promotions, Inc. v. Truong, 2020 WL 7014303, at *7 (M.D.

Tenn. May 20, 2020) (factors relevant to statutory damages are “the expenses saved and profits

reaped by the defendants in connection with the infringements, the revenues lost by the plaintiffs

as a result of defendants’ conduct, and the infringers’ state of mind whether willful, knowing, or

merely innocent”).

         Plaintiffs’ argument that narrowing the requests to “infringing” content requires

“Defendant to determine what constitutes promotion of infringing content” should be rejected. If

X has an internal understanding that it uses to determine whether certain content is infringing—

and its algorithms or systems are designed to identify and promote that content—then the

documents in its files will reflect that fact. No discretionary decisions will need to be made.

         Plaintiffs also argue that how X’s algorithm organizes content in user’s feeds is necessary

background information. X disputes this premise. Plaintiffs do not need to know precisely how

X’s highly proprietary algorithms operate to effectively litigate this case. Moreover, general

background information about how the site works is publicly available on X’s website. See X

Trends FAQ, available at https://help.x.com/en/using-x/x-trending-faqs (last visited Nov. 30,

2024).

                2. Requests About Content Moderation

 Plaintiffs Request                                   X’s Proposed Compromise

 RFP NO. 56: Documents sufficient to show             X will produce documents sufficient to reflect
 or describe the tools, programs, or methods          its use of technologies, tools, or devices to
 You use to monitor and/or control Platform           detect or limit copyrighted music in posts or
 Users or content uploaded or posted by               live streams by Platform users.
 Platform Users, including as it relates to
 copyright, copyright infringement, and/or
 actual or potential violations of Your
 Acceptable Use Policy.


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 ROG NO. 23: Identify the persons, including          X will identify persons with knowledge of
 current and former employees, with                   programs or tools used to monitor the
 responsibility for or involvement in oversight       Platform for copyrighted music.
 of content uploaded or posted by Platform
 Users, including any monitoring programs or
 tools used to flag certain content uploaded by
 Platform Users and use of tools such as
 “visibility filtering”, suppression of posts,
 “shadow banning”, and/or “deamplification”.



       Plaintiffs argue this set of requests fall within the Court’s directive that discovery into X’s

“powers of monitoring and control over users and their tweets” are relevant to the contributory

liability claim. However, not all monitoring conducted by X is relevant to this case. For example,

documents concerning tools or tactics used by X to monitor the platform for violent content, hate

speech, child safety, content related to suicide, or pornographic content, for example, would not

bear on the question of X’s secondary liability for copyright infringement.

       X has modified Plaintiffs’ requests to focus on monitoring of copyright infringement.

Plaintiffs argue that X’s formulations are too narrow because they do not extend to the “powers

and capabilities to reduce infringement that [X] has chosen not to use.” As this Court has

recognized, “plaintiffs [have not identified] any authority that would support an argument that the

operator of a social media platform materially contributes to infringement simply because there

are some preventive steps that the operator could have taken but did not.” MTD Decision at 15.

There is no requirement in the law that X do everything in its power, or the power of any Internet

company, to reduce infringement, and the DMCA expressly states that platforms hosting user

generated content are not required to affirmatively monitor their platforms for copyright

infringement to obtain safe harbor. See 17 U.S.C. § 512(m). Accordingly, any “voluntary

undertaking” by X “to monitor videos for infringement” should not “deprive it of the statutory

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privilege not to monitor for infringement of music.” Capitol Recs., LLC v. Vimeo, LLC, 826 F.3d

78, 98 (2d Cir. 2016).

       C.      X’s Positions On Requests About General Features Of The Platform Are
               Appropriate

       The parties dispute the appropriateness and scope of nine discovery requests that Plaintiffs

characterize as concerning Defendant’s “economic incentives to tolerate infringement.”            X

disputes this characterization because these requests implicate a tremendous volume of

information concerning infringement-agnostic aspects of the platform that the Court has said

cannot form the basis of contributory liability. MTD Decision at 15. These requests fall into two

distinct categories, which are discussed below in turn: (1) requests that relate to the use of music

as a general feature of the platform and (2) requests about whether X has considered licensing

music as a feature of the platform.


            1. Requests Concerning Music As A General Feature Of X’s Platform


 Plaintiffs’ Request                                X’s Proposed Compromise

 RFP NO. 1: All documents and                       Documents and communications, including
 communications, including reports, studies,        reports, studies, research, presentations,
 research, presentations, surveys, or analyses,     surveys, or analyses, concerning the use of
 concerning the use of music on the Platform.       infringing music on the Platform.

 RFP NO. 2: All documents and                       Documents and communications, including
 communications, including reports, studies,        reports, studies, research, presentations, or
 research, presentations, or analyses,              analyses, concerning X’s plans or strategies,
 concerning Your plans or strategies, actual or     actual or considered, for promoting,
 considered, for promoting, supporting,             supporting, generating user engagement from,
 generating user engagement from, generating        generating revenue from, or profiting from the
 revenue from, or profiting from the use of         use of infringing music on the Platform
 music on the Platform

 RFP NO. 52: Presentations, summaries, and          Presentations, summaries, and analyses of: (a)
 analyses of: (a) the demographics of Platform      the demographics of Platform Users; and (b)
 Users; and (b) the impact that use of music or     the impact that use of infringing music or
 audiovisual content on the Platform has on         infringing audiovisual content on the
                                                  10


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 attracting or retaining Platform Users, driving    Platform has on attracting or retaining
 engagement, and adding subscribers.                Platform Users, driving engagement, and
                                                    adding subscribers.

 RFP NO. 53: All documents and                      Documents and communications concerning
 communications concerning comparative              comparative analyses of Platform User
 analyses of Platform User engagement               engagement (including metrics such as likes,
 (including metrics such as likes, views, time      views, time spent viewing posts, reposts, and
 spent viewing posts, reposts, and replies) of      replies) of posts featuring infringing
 posts featuring audiovisual content versus         audiovisual content versus posts without
 posts without audiovisual content.                 infringing audiovisual content.

 RFP NO. 54: All documents and                      Documents and communications concerning
 communications concerning Your                     X’s encouragement for users to upload
 encouragement for users to upload media            infringing media content to X’s servers rather
 content to Your servers rather than link to        than link to third-party sites.
 third-party sites.

 RFP NO. 55: All documents and                    Discovery should be denied.
 communications concerning Your decision(s)
 to increase video length limits for posts on the
 Platform.

 ROG NO. 1: Identify the persons, including         X is willing to identify individuals with
 current and former employees, with                 responsibility or involvement related to the
 responsibility for or involvement in Your          infringing use of music on the Platform.
 efforts relating to use of music on the
 Platform, including any effort to promote,
 support, research, analyze or generate user
 engagement or revenue from use of music on
 the Platform.



       This set of requests implicates a breathtakingly broad set of documents and information

concerning the use of music as a general feature of X’s platform. In effect, these requests seek all

documents concerning the use of music on the platform.

       The Court already has rejected Plaintiffs’ theory that X can be held secondarily liable for

user posts merely because X offers neutral functionality (such as the ability to upload audiovisual

files that contain music) that is used to infringe. MTD Decision at 15-16. In denying Plaintiffs’

bid to premise liability on this theory, the Court explained: “[m]any of the supposedly problematic
                                                   11


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practices that the plaintiffs identify are unremarkable features of X/Twitter generally that X Corp.

has simply failed to fence off completely from infringers.” Id. at 15. Plaintiffs’ plans to premise

its case against X on “Defendant’s general knowledge that music fuels its business” have been

foreclosed by the Court’s prior decision.

       Plaintiffs’ argument is that if X promotes the use of music (as a general category) on the

platform, this demonstrates an “economic incentives to tolerate infringement.” That argument is

flawed because it wrongly equates the use of music on the platform with the use of infringing

music on the platform. They are not equivalent. The platform contains millions—if not billions—

of user posts about music and music related topics, only a small portion of which attach audiovisual

content. Moreover, there are many ways that users incorporate music into posts without infringing:

for example, the music could be in the public domain, the use of the music could be de minimis,

the use of the music could qualify as a fair use, and/or the music could be licensed or owned by

the user. In fact, artists often post about their music on X, including releasing new songs on the

platform.

       X is generally not in a position to know whether a particular use of sound in an audiovisual

file is infringing. In Capitol Records., LLC v. Vimeo, LLC, 826 F.3d 78, 96 (2d Cir. 2016), the

Second Circuit considered whether video-hosting platform Vimeo could be found to have

knowledge of infringement when employees of the platform viewed videos that contained popular

music synched to video. The Court held: “the fact that music is ‘recognizable’ … or even famous

… is insufficient to demonstrate that the music was in fact recognized by a hypothetical ordinary

individual who has no specialized knowledge of the field of music.” Id. The court vacated the

district court’s ruling denying summary judgment to Vimeo, expressly rejecting the idea that the



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mere presence of music in a user-posted video would be sufficient to for employees of the Platform

to identify infringement:

        Even assuming awareness that a user posting contains copyrighted music, the
        service provider's employee cannot be expected to know how to distinguish, for
        example, between infringements and parodies that may qualify as fair use. Nor can
        every employee of a service provider be automatically expected to know how likely
        or unlikely it may be that the user who posted the material had authorization to use
        the copyrighted music. Even an employee who was a copyright expert cannot be
        expected to know when use of a copyrighted song has been licensed. Additionally,
        the service provider is under no legal obligation to have its employees investigate
        to       determine         the       answers        to        these      questions.

Id. at 97.

        This Court ruled that evidence that X encourages infringement on the platform, that X has

an economic incentive to tolerate infringement by users or that X monitors or controls user posts

such that it could be said to have knowledge of user infringement, are relevant to this case. MTD

Decision at 21. In line with this ruling, X has appropriately tailored Plaintiffs’ requests to seek

evidence that X promotes or capitalizes infringement itself, as opposed to merely promoting or

capitalizing on infringement-agnostic general categories or features (such as the use of music or

use engagement with audiovisual files).

        Plaintiffs argue that X’s proposed compromise is too narrow and will result in the

production of no documents because “infringers do not typically spell out their policy plans.” This

concern is not warranted. If X has adopted policies or practices designed to deliberately encourage

or capitalize on known infringement, there will be documents in X’s files reflecting these actions.

For example, documents reflecting analyses by X of DMCA notices from music rightsholders

would be relevant to show X’s knowledge of infringement.

        Responding to Plaintiffs’ broad requests about music would add to X’s already significant

document collection obligations an entirely new, massive category of documents that would likely

                                                13


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involve additional custodians that would not otherwise be implicated in the litigation. The

additional burden to X of having to collect this overbroad set of documents is significant, and is a

relevant consideration in this dispute.

           2. Requests Concerning Music Licensing Are Irrelevant

 Plaintiffs Request                                X’s Position

 RFP NO. 5: All documents and                   Discovery should be denied.
 communications concerning any strategies,
 decision making, presentations, or analyses by
 You concerning whether or how to license
 music for use on the Platform, including any
 requirement or terms

 ROG NO. 2: Identify the persons, including        Discovery should be denied.
 current and former employees, with
 responsibility for or involvement in Your
 decision-making with respect to whether or
 how to license music for use on the Platform,
 including as to any requirements or terms.



       These requests seek discovery into whether and to what extent X has considered

affirmatively licensing music to offer a platform feature that would enable users to incorporate

music licensed by X into their posts. This inquiry sheds no light on whether X has engaged in any

of the three practices identified by the Court that could support liability, nor does it concern X’s

economic incentives to tolerate infringement related to the three practices. MTD Decision at 21

(“Count II will be dismissed, except with regard to the following practices: (1) providing more

lenient copyright enforcement to ‘verified’ users; (2) failing to act on takedown notices in a timely

manner; and (3) failing to take reasonable steps in response to severe serial infringers.”).

       Plaintiffs argue this information is relevant because X “know[s] full well” that some users

post content to X that is licensed on other platforms. Again, the Court has rejected a general theory

of liability based on the premise that X is aware that its platform may be used by some to infringe.
                                                 14


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MTD Decision at 15-17; see Metro-Goldwyn-Mayer Studios Inc. v. Grokster, Ltd., 545 U.S. 913,

937 (2005) (“[M]ere knowledge of infringing potential or of actual infringing uses would not be

enough here to subject a distributor to liability. Nor would ordinary acts incident to product

distribution, such as offering customers technical support or product updates, support liability in

themselves.”). In effect, Plaintiffs would like to argue to a jury that X is a bad actor who should

be punished because it failed to license music for its platforms when other companies have done

so.

       X has already agreed to produce documents concerning any policies, programs, or

initiatives by X to capitalize on known infringement or infringing accounts, see, e.g., Exhibit B,

RFP Nos. 7, 10-11, 23, 25, 35-36, and X’s proposed compromised contained herein. This more

than covers the landscape of possible documents that could show X intended to capitalize on

infringement through the three practices outlined in the MTD Decision. Adding this irrelevant

category of documents to X’s discovery burdens is not proportional to the needs of this case.

           D. X’s Proposals To Narrow Requests About X’s Competitive Analyses Are
              Appropriate

 Plaintiffs’ Request                                X’s Proposed Compromise

 RFP NO. 50: All documents and                      Documents and communications concerning
 communications concerning changes to the           changes to the Platform in order to more
 Platform in order to more effectively compete      effectively compete with other social media
 with other social media sites including with       sites with respect to optimizing the uploading,
 respect to optimizing the uploading, sharing       sharing and streaming of posts featuring
 and streaming of posts featuring music or          infringing music or infringing audiovisual
 audiovisual content.                               content.

 RFP NO. 51: All documents and                      Documents and communications concerning
 communications concerning competitive              competitive analyses that relate to the use of
 analyses, including analyses of the entities or    infringing copyrighted content, including
 companies You view as Your competitors and         analyses of the entities or companies X views
 analyses on how You and the Platform will          as its competitors and analyses on how X and
 compete with such entities and their               the Platform will compete with such entities
                                                    and their competing services concerning
                                                   15


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 competing services, including concerning         infringing music or infringing audiovisual
 music or audiovisual content.                    content.



       RFP Nos. 50 and 51 seeks the production of an enormous category of documents and

information concerning X’s competitive business strategies that have little or nothing to do with

this case. These documents do not on their face appear to relate to X’s economic incentives to “(1)

provid[e] more lenient copyright enforcement to ‘verified’ users; (2) fail[] to act on takedown

notices in a timely manner; and (3) fail[] to take reasonable steps in response to severe serial

infringers.” MTD Decision at 21. Plaintiffs do not explain how the broad-based information they

seek relates to the contributory claim as narrowed by the Court.

       To the extent X has made changes to its platform intended to facilitate copyright

infringement related to these areas, X has already agreed to produce such documents, including

through its proposed modifications to RFP Nos. 50-51. See, e.g., Exhibit A, RFP Nos. 47-48, 54.

Requiring X to collect virtually all documents relating to its strategies to compete with other

platforms is unreasonable and not in keeping with the needs of the case.



 Dated: December 3, 2024                          Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

        I hereby certify that on December 3, 2024, I authorized the electronic filing of a true and
exact copy of the foregoing with the Clerk of the Court using the CM/ECF system, which sent
notice of such filing to counsel of record below:

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